
JCC Medical, P.C., as Assignee of Ovide, Alittia, Respondent, 
againstOmni Indemnity Company, Appellant.




Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered January 4, 2017, deemed from a judgment of that court entered January 24, 2017 (see CPLR 5501 [c]). The judgment, entered pursuant to the January 4, 2017 order denying defendant's motion for summary judgment dismissing the complaint and granting plaintiff's cross motion for summary judgment, awarded plaintiff the principal sum of $148.70.




ORDERED that the judgment is reversed, with $30 costs, the order entered January 4, 2017 is vacated, defendant's motion for summary judgment dismissing the complaint is granted and plaintiff's cross motion for summary judgment is denied.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that defendant had not issued an insurance policy covering the vehicle which was involved in the accident in question and that, therefore, plaintiff had sued the wrong party. Plaintiff cross-moved for summary judgment. By order entered January 4, 2017, the Civil Court denied defendant's motion and granted plaintiff's cross motion. A judgment awarding plaintiff the principal sum of $148.70 was entered on January 24, 2017. Defendant's appeal from the January 4, 2017 order is deemed to be from the judgment entered pursuant thereto (see CPLR 5501 [c]).
For the reasons stated in Island Life Chiropractic Pain Care, PLLC, as Assignee of Dorleans, Darlene v Omni Indem. Co. ( Misc 3d , 2019 NY Slip Op  [appeal No. 2017-5[*2]26 K C], decided herewith), the judgment is reversed, the order entered January 4, 2017 is vacated, defendant's motion for summary judgment dismissing the complaint is granted and plaintiff's cross motion for summary judgment is denied.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: March 15, 2019










